                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )     COLLIER/CARTER
                                              )
        v.                                    )     CASE NO. 1:10-CR-23
                                              )
 KELLY ADAMS                                  )


                                            ORDER

        On May 26, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to Count Eight

 of the Indictment in exchange for the undertakings made by the government in the written plea

 agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in Count One of the

 Indictment; (c) that a decision on whether to accept the plea agreement be deferred until

 sentencing; and (d) Defendant shall be remanded into custody pending sentencing in this matter

 (Court File No. 93). Neither party filed an objection within the given fourteen days. After

 reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to Count Eight of the Indictment, in exchange for the

 undertakings made by the government in the written plea agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count Eight of the

 Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL BE REMANDED INTO CUSTODY pending sentencing on



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 Thursday, October 14, 2010, at 9:00 am.

       SO ORDERED.

       ENTER:


                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




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